Case 2:00-cv-09068-AHM-AIJ Document 22 Filed 06/30/21 Page 1 of 4 Page ID #:91
      Case 2:00-cv-09068-AHM-AIJ Document 22 Filed 06/30/21 Page 2 of 4 Page ID #:92

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
    Case No.     CV 00-9068 AHM (AIJx)                                  Date   July 1, 2021
    Title        Darren Del Nero v. Allstate Insurance Company

https://www.sos.ca.gov/registries/safe-home (last visited June 25, 2021). Program participants
are deemed “protected persons” under the California Code of Civil Procedure, which allows
participants to (1) use a pseudonym and redact identifying characteristics when filing court
documents, and (2) seek leave to seal public files. See Cal. Civ. Proc. Code § 367.3(b). To be
accepted to the program, applicants must submit a sworn statement that he or she “is a victim of
domestic violence, sexual assault, stalking, human trafficking, or elder or dependent abuse,” and
that he or she “fears for his or her safety.” See Cal. Gov’t Code § 6206.

       Plaintiff states that he enrolled in the program because he escaped two near death
experiences and received several threats. Mot. 1:17 19; App. 1:21 24. Plaintiff insists that his
membership in the program provides sufficient reason to seal the entire record in this case or,
alternatively, to redact the case and replace his name with a pseudonym. See generally Mot. He
also asks the Court to seal the instant motion. See generally App.

II.         Legal Standard

            A.    Motion to Seal

        The party seeking to seal judicial records must demonstrate “compelling reasons” for
doing so. See Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 677 78 (9th Cir. 2010); Kamakana
v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (holding that “[a] party seeking
to seal a judicial record . . . bears the burden of . . . meeting the ‘compelling reasons’ standard”).1
This standard derives from the common law right “to inspect and copy public records and
documents, including judicial records and documents.” Kamakana, 447 F.3d at 1178 (citation
and internal quotation marks omitted).

        To overcome the presumption created by this common law right of access, a party seeking
to seal judicial records must show that “compelling reasons supported by specific factual
findings . . . outweigh the general history of access and the public policies favoring disclosure.”

1
 A different standard covers the “narrow range of documents” such as “grand jury transcripts”
and certain “warrant materials” that “traditionally [have] been kept secret for important policy
reasons.” See Kamakana, 447 F.3d at 1178. This standard is not relevant here. In addition, a
different standard is applicable to protect “private materials unearthed during discovery,”
permitting a protective order “to protect a party or person from annoyance, embarrassment,
oppression, or undue burden or expense.” See Pintos, 605 F.3d at 678; Fed. R. Civ. P. 26(c).
This standard is also not relevant here.

CV 90 (10/08)                             CIVIL MINUTES - GENERAL                              Page 2 of 4
   Case 2:00-cv-09068-AHM-AIJ Document 22 Filed 06/30/21 Page 3 of 4 Page ID #:93

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 00-9068 AHM (AIJx)                                 Date   July 1, 2021
 Title          Darren Del Nero v. Allstate Insurance Company

Id. at 1178 79 (internal quotation marks and citations omitted). In general, “compelling
reasons” may be shown where “court files might have become a vehicle for improper purposes,
such as the use of records to gratify private spite, promote public scandal, circulate libelous
statements, or release trade secrets.” Id. at 1179 (internal citations omitted). However, the
“mere fact that the production of records may lead to a litigant’s embarrassment, incrimination,
or exposure to further litigation will not, without more, compel the court to seal its records.” Id.
(internal quotation marks and citations omitted).

         B.      Motion to Use a Pseudonym

       “[T]he identity of the parties in any action, civil or criminal, should not be concealed
except in an unusual case, where there is a need for the cloak of anonymity.” United States v.
Doe, 488 F.3d 1154, 1156 n.1 (9th Cir. 2007). Generally, under Federal Rule of Civil Procedure
10(a), a plaintiff must name all of the parties in the title of the complaint. Nevertheless, parties
may proceed anonymously when “special circumstances justify secrecy.” Does I thru XXIII v.
Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000). Specifically, parties may use
pseudonyms “in the unusual case when nondisclosure of the party’s identity is necessary . . . to
protect a person from harassment, injury, ridicule or personal embarrassment.” Id. (internal
quotation marks and citation omitted). The party may preserve his or her anonymity “when the
party’s need for anonymity outweighs prejudice to the opposing party and the public’s interest in
knowing the party’s identity.” Id.

III.     Discussion

       Similar to the two other district courts that have previously addressed the issue of privacy
with regard to members of the Safe at Home program, the Court “concludes that the disclosure
of information that the Safe At Home program protects would work a serious, clearly defined
injury.” Del Nero v. NCO Fin. Sys., Inc., No. 2:06-CV-04823-JDW, 2021 WL 2375892, at *2
(E.D. Pa. June 10, 2021); see Darren D. Chaker v. Law Offices of Winn and Sims, et al., No. 06-
CV-00599-H-AJB, 2021 WL 2529617, at *2 (S.D. Cal. June 21, 2021). As explained above, the
Safe At Home program protects a crime victim’s address from the public. Cal. Gov’t Code §
6207(a). Because the State of California has determined that Plaintiff “faces some risk or threat
when it enrolled him in the Safe At Home program,” disclosure of Plaintiff’s address “would
undermine that program and put [Plaintiff] at risk of the very harms that [the program] is
designed to protect.” See Del Nero, 2021 WL 2375892, at *2.




CV 90 (10/08)                            CIVIL MINUTES - GENERAL                             Page 3 of 4
   Case 2:00-cv-09068-AHM-AIJ Document 22 Filed 06/30/21 Page 4 of 4 Page ID #:94

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 00-9068 AHM (AIJx)                                 Date    July 1, 2021
 Title          Darren Del Nero v. Allstate Insurance Company

       However, Plaintiff fails to present sufficient reasons to seal any other information in the
record. “California’s Safe at Home Confidential Address Program does not protect all
information related to Plaintiff from the public eye; it protects Plaintiff’s address. Thus, sealing
the entire record would be overbroad and undermine the ‘strong presumption’ favoring the
public’s interest in this case.” Chaker, 2021 WL 2529617, at *2 (internal citations omitted).

        Similarly, replacing Plaintiff’s name with a pseudonym is not warranted. See id. Plaintiff
fails to explain how redacting his name from this insurance case would protect him from the
harm that the Safe At Home program seeks to avoid. Thus, the Court cannot conclude that
Plaintiff’s interest in using a pseudonym here “outweighs prejudice to the opposing party and the
public’s interest in knowing the party’s identity.” Does I thru XXIII, 214 F.3d at 1068.

         Having concluded that Plaintiff’s address warrants protection, the Court rules as follows.

       First, the Court GRANTS IN PART and DENIES IN PART the application to seal the
instant motion. The Court GRANTS Plaintiff’s application as to redacting his address and
DENIES the application in all other respects. In accordance with Local Rule 79-5.2.2, Plaintiff
must submit a redacted version of the motion to seal which redacts only his address within 30
days. As such, Plaintiff’s redacted version must be filed no later than August 2, 2021.

       Second, the Court DENIES Plaintiff’s motion to seal in its entirety. The Court has
reviewed the record and Plaintiff’s address does not appear anywhere. Although the twenty-one-
year-old complaint mentions the name of the city that Plaintiff lived in at the time, Plaintiff has
not shown that the Safe At Home program protects the name of the city he lived in over twenty
years ago. Chaker, 2021 WL 2529617, at *2 (“Plaintiff’s motion fails to present sufficient
reasons to seal any other information in the record, including vague references to cities that
Plaintiff may or may not still reside in, considering that this case is over fifteen years old.”).

IV.      Conclusion

       For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART the
application to seal the instant motion and DENIES the motion. The Court ORDERS Plaintiff to
submit a redacted version of his motion to seal by August 2, 2021.

         IT IS SO ORDERED.




CV 90 (10/08)                            CIVIL MINUTES - GENERAL                             Page 4 of 4
